Case 1:16-cv-00605-JKB Document 17-4 Filed 10/27/16 Page 1 of 2

Chris Staiti

 

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From: Hoffman, Howard <hbhoffmanesq@hoholaw.com>
Sent: Friday, October 21, 2016 1:56 PM
To: Chris Staiti; warbasselaw@ gmail.com
Subject: RE: Canton Dockside // Subponea - Paychex

Mr. Staiti,

| am unsure what your two sentence email exactly refers to —the Order that was entered was entered at our request,
and it was you to produce documents and other evidence. Your adherence to that Order has been an issue. If you are
referring to some protection with respect to the identities of employees, that was before you interjected a defense that
service charges can be claimed as wages.

Because the purpose of the subpoena is consistent with our expert’s opinion that further documents must be examined
in order to fully evaluate this defense, the subpoena is proper. It is not being used to communicate with potential
witnesses, although | must say that whether the “mandatory” service charge was in fact mandatory is an issue that
would allow us to speak with other workers regarding management policies and practices.

The payment of wages is an affirmative defense which you bear the burden of proof and persuasion on. If your client
has nothing to worry about, there should be no problem. If you want a confidentiality agreement, that should be
fine. But we expect that your clients will not impede our examination of this issue and will promptly produce the
requested discovery and will also cooperate in scheduling depositions.

Thanks,

Howard B. Hoffman, Esq.

Attorney at Law

600 Jefferson Plaza, Ste. 304

Rockville, Maryland 20852

(301) 251-3752

(301) 251-3753 (fax)
www.hoholaw.com

Admitted in Maryland, D.C., and Virginia

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Case 1:16-cv-00605-JKB Document 17-4 Filed 10/27/16 Page 2 of 2

From: Chris Staiti [mailto:cstaiti@staiti-diblasio.com]
Sent: Thursday, October 20, 2016 5:02 PM

To: Hoffman, Howard; warbasselaw@gmail.com
Subject: RE: Canton Dockside // Subponea - Paychex
Importance: High

Howard — The scope of your second Paychex subpoena directly violates Judge Bredar’s Order of July 29, 2016. Please
advise if you are willing to take steps to limit the scope of your subpoena to just your client, Kris Prusin.

Thank you.

Christopher Staiti, Esquire
www. Staiti-DiBlasio.com

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by telephone ai 410.787.1123. Thank you.

From: Hoffman, Howard [mailto:hbhoffmanesq@hoholaw.com]

Sent: Friday, October 14, 2016 5:43 PM

To: cstaiti@staiti-diblasio.com; 'warbasselaw@gmail.com' <warbasselaw@gmail.com>
Subject: Canton Dockside // Subponea - Paychex

Mr. Staiti,

Please find attached a subpoena being issued to Paychex for the payroll and tax filings for Canton’s Pearls, LLC.

Howard B. Hoffman, Esq.

Attorney at Law

600 Jefferson Plaza, Ste. 304

Rockville, Maryland 20852

(301) 251-3752

(301) 251-3753 (fax)
www.hoholaw.com

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